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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

------------------------------------------------------- x
                                                        :
 UNITED STATES OF AMERICA,                              :
                                                        :    S2 20 Cr. 330 (AJN)
                v.                                      :
                                                        :    NOTICE OF MOTION
 GHISLAINE MAXWELL,
                                                        :
                                                        :
                            Defendant.
                                                        :
                                                        :
------------------------------------------------------- x


  GHISLAINE MAXWELL’S MOTION UNDER FEDERAL RULE OF EVIDENCE 412
   TO PERMIT QUESTIONING ABOUT HER ACCUSERS’ SEXUAL BEHAVIOR


        PLEASE TAKE NOTICE that, upon the accompanying memorandum of law, Defendant

Ghislaine Maxwell, through counsel, hereby moves under Federal Rule of Evidence 412 and the

constitutional rights to present a defense and to confrontation to permit questioning regarding her

accusers’ other sexual behavior.

        Dated: October 27, 2021
               New York, New York
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                            Respectfully submitted,


                            s/ Jeffrey S. Pagliuca
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